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AL-QUDS AL-ARABI

DECLARATION OF PUBLICATION

NOTICE: of Filing of Complaints

The undersigned says:

I am the Business Manager and Company Secretary of Al-Quds Al-Arabi Publishing & Advertising
( Overseas ) Ltd and is duly authorized to make this affidavit.

The Notice , a true copy of which is attached , was published on the following dates : Thursday -.

December 23", 2004, Thursday December 30" 2004, Thursday January 6" 2005 and Thursday
January 13" 2005.

PAT SUNDRAM ( MRS )
BUSINESS MANAGER Z
MARCH 11°" 2005 “oor

SWORN BEFORE ME ON yate Boxy OF Archos

I THE UNDERSIGNED MANUEL FLOREZ VALCARCEL, Notary Public,
practising at 130 King Street, London W6 0QU, England, hereby CERTIFY that the
signature written at the end of the preceding document in my presence is the true and
authentic signature, of Mrs. PATRICIA SUNDRAM, also known as PAT
SUNDRAM as declared by her, of full age, who signed it in my presence having
identified her by her British passport No. 094358024 valid until 23.04.2014 produced
by her to me for her personal identification.
IN WITNESS WHEREOF I sign this Certificate in London, England, today the
fourteenth day of March two thousand and five.

Notary Public

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